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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS


       UNITED STATES OF AMERICA                        )
                                                       )
               v.                                      )       No. 24-cr-10189-AK-MPK
                                                       )
       HAROON MOHSINI,                                 )
                                                       )
                               Defendant               )


                              JOINT INITIAL STATUS REPORT

       Pursuant to Local Rule 116.5(a), the parties hereby file this status report in connection with

the initial status conference that is scheduled for January 9, 2025. The parties jointly and

respectfully request that this status report be considered in lieu of that status conference. The

parties further request that the Court schedule an interim status conference in approximately 45

days to permit additional time to review discovery and discuss a potential resolution.

       (1) Automatic Discovery & Pending Discovery Requests

       The government has made an initial production of discovery, and the parties continue to

discuss automatic discovery. At this time, no discovery requests are pending.

       The government is aware of its obligations to produce materials under Fed. R. Crim. P. 16,

Local Rule 116.2(b)(1), and Brady vs. Maryland. To the extent any additional discovery—

including Brady material—becomes available, the Government will promptly produce it.

       (2) Additional Discovery Requests and Pretrial Motions

       The parties will report on the status of any discovery requests or anticipated motions under

Fed. R. Crim. P. 12(b) in an interim or final status report.

       (3) Protective Orders

       Neither party presently anticipates seeking a protective order in this case.
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       (4) Expert Discovery

       The government agrees to provide any expert witness disclosures 30 days prior to trial.

The Defendant agrees to provide any expert witness disclosures 21 days prior to trial.

       (5) Speedy Trial Act

       All of the time has been excluded between the Defendant’s initial appearance and

arraignment on October 21, 2024 through the date of the initial status conference on January 9,

2025 (Dkt. 30). The parties request that the Court exclude the period of time from January 9 until

the next status conference under 18 U.S.C. § 3161(h)(7)(A) because the ends of justice served by

this exclusion—namely, additional time to review discovery and discuss a potential resolution—

outweigh the interests of the public and the Defendant in a speedy trial.

       (6) Interim Status Conference

       The parties respectfully request that the Court schedule an interim status conference to

occur in approximately 45 days from the initial status conference, or as soon thereafter as is

convenient for the Court.



                                                  Respectfully submitted,

                                                  JOSHUA S. LEVY
                                                  UNITED STATES ATTORNEY

                                                  /s/ David M. Holcomb      s
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                                HAROON MOHSINI
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                                       Certificate of Service

        I hereby certify that this document, filed through the ECF system, will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing.

Dated: January 6, 2025                                 /s/ David M. Holcomb       s
                                                       Assistant United States Attorney




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